Case 25-10096 Doc 28-1 Filed 03/21/25 Entered 03/21/25 15:34:39 Desc Appendix

Cover Sheet Page 1 of 2
B1040 (FORM 1040) (12/24)
ADVERSARY PROCEEDING COVER SHEET ADVERSARY PROCEEDING NUMBER
(Instructions on Reverse) (Court Use Only)
PLAINTIFFS DEFENDANTS

Brian Strout and Kerri Strout

Brian A. Tanguy

ATTORNEYS (Firm Name, Address, and Telephone No.) | ATTORNEYS (If Known)
Christopher Fein, Fein Law Office PC, 50 Braintree Hill
Office Park, Suite 302, Braintree, MA 02184
781-356-5555 __cifein@feinlawoffice.com
PARTY (Check One Box Only) PARTY (Check One Box Only)
oO Debtor 0 U.S. Trustee/Bankruptcy Admin cXDebtor 0 U.S. Trustee/Bankruptcy Admin
m& Creditor o Other O Creditor O Other
O Trustee 0D Trustee

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INV! OLVED)

Complaint seeking exception to discharge of claim arising out of money taken through fraud and larceny

NATURE OF SUIT
{Number up to five (5) boxes starting with lead cause of action as 1,

first alternative cause as 2, second alternative cause as 3, etc.)

FRBP 7001(a) - Recovery of Money/Property
11-Recovery of money/property - §542 turnover of property
12-Recovery of money/property - §547 preference
13-Recovery of money/property - §548 fraudulent transfer
14-Recovery of money/property - other

FRBP 7001(b) - Validity, Priority or Extent of Lien
21-Validity, priority or extent of lien or other interest in property

FRBP 7001(c) — Approval of Sale of Property
31-Approval of sale of property of estate and of a co-owner - §363(h)

FRBP 7001(d) — Objection/Revocation of Discharge
41-Objection / revocation of discharge - §727(c),(d),(e)

FRBP 7001(e) - Revocation of Confirmation
51-Revocation of confirmation

FRBP 7001(f) — Dischargeability
66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
Lad 62-Dischargeability - §523(a)(2), false pretenses, false representation,
actual fraud
[x 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny

(continued next column)

FRBP 7001(f) ~ Dischargeability (continued)
61-Dischargeability - §523(a}(5), domestic support
O 68-Dischargeability - §523(a}(6), willful and malicious injury
C) 63-Dischargeability - §523(a)(8), student loan
O 64-Dischargeability - §523(a)(15), divorce or separation obligation
(other than domestic support)
CO 65-Dischargeability - other

FRBP 7001(g) — Injunctive Relief
71-Injunctive relief — imposition of stay
C1 72-Injunctive relief — other

FRBP 7001(h) Subordination of Claim or Interest
81-Subordination of claim or interest

FRBP 7001(i) Declaratory Judgment
91-Declaratory judgment

FRBP 7001(j) Determination of Removed Action
01-Determination of removed claim or cause

Other

(C1 ss-SIPA Case - 15 U.S.C. §§78aaa et.seq.

[1 02-0ther (e.g. other actions that would have been brought in state court
if unrelated to bankruptcy case)

O Check if this case involves a substantive issue of state law

O Check if this is asserted to be a class action under FRCP 23

o Check if a jury trial is demanded in complaint

Demand $ 188,500.00

Other Relief Sought

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Cover Sheet Page 2 of 2

B1040 (FORM 1040) (12/24)
BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR Brian A. Tanguy BANKRUPTCY CASE NO. 25-10096 JEB
DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE

District of Massachusetts Boston Bostwick

RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF DEFENDANT ADVERSARY
PROCEEDING NO,

DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGE
SIGNA OFATTORNEY (OR PLAINTIFF)
DATE PRINT NAME OF ATTORNEY (OR PLAINTIFF)

March 21, 2025 Christopher J. Fein, Esq.

INSTRUCTIONS

The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

A party filing an adversary proceeding must also complete and file Form 1040, the Adversary Proceeding Cover
Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case
Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When completed,
the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the information to
process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attomeys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the

plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
attorney, the plaintiff must sign.

